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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Civil Case No. 18-cv-01710-KMT

ROGER HILL,

        Plaintiff,
v.

MARK EVERETT WARSEWA,
LINDA JOSEPH, and
THE STATE OF COLORADO

        Defendants.


                                      NOTICE OF APPEAL


        Notice is hereby given that Plaintiff Roger Hill hereby appeals to the United States Court

of Appeals for the Tenth Circuit from the final judgment entered in this action on January 10,

2019.

                                             Respectfully submitted,

                                               By: s/Alexander Hood
                                                   Alexander Hood
                                                   Attorney for the Plaintiff
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                                                   Denver, CO 80218
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                                      Certificate of Service

        I hereby certify that on January 17, 2019, I served a true and correct copy of the forgoing
on all parties that have appeared pursuant to Fed. R. Civ. P. 5.

                                                     s/Alexander Hood
                                                     Alexander Hood




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